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Alex Talesnick

Counsel for Senior Secured Lenders

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                        Chapter 11

    REPUBLIC METALS REFINING                                      Case No. 18-13359 (SHL)
    CORPORATION, et al.,1
                                                                  (Joint Administration Pending)
                               Debtors.



             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that Luskin, Stern & Eisler LLP hereby appears as counsel

for Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown Brothers Harriman &

Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi International Corporation

(“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal Trading LLC

(“Techemet”), Woodforest National Bank (“Woodforest”) and Bank Leumi USA (“Leumi” and,

together with Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet and Woodforest, the

“Senior Secured Lenders”), pursuant to section 1109(b) of title 11 of the United States Code (as

amended, the “Bankruptcy Code”), Rules 2002, 3017(a), 9007, and 9010 of the Federal Rules of

Bankruptcy Procedure (as amended, the “Bankruptcy Rules”), and requests that copies of any


1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and
             209, New York, NY 10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL
             33054 (4378), and Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL
             33014 (5833).
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and all notices and papers filed or entered in these cases be given to and served upon the

following:

                      Richard Stern
                      Alex Talesnick
                      LUSKIN, STERN & EISLER LLP
                      Eleven Times Square
                      New York, New York 10036
                      Telephone: (212) 597-8200
                      Facsimile: (212) 974-3205
                      Email: stern@lsellp.com
                             talesnick@lsellp.com

       PLEASE TAKE FURTHER NOTICE that, in accordance with 11 U.S.C. § 1109(b),

the foregoing request includes not only the notices and papers referred to in the Bankruptcy

Rules specified above, but also includes, without limitation, orders and notices of any petition,

pleading, complaint, conference, hearing, application, motion, request, or demand (collectively,

the “Filings”), whether formal or informal, written or oral, or transmitted or conveyed by mail,

delivery, telephone, telecopy, or otherwise which affect or seek to affect in any way any rights or

interests of the Senior Secured Lenders.

       PLEASE TAKE FURTHER NOTICE that the filing of this Notice of Appearance shall

not constitute (a) a waiver of the right of the Senior Secured Lenders to contest service of any

Filing; (b) a waiver of rights to have any and all final orders in any and all non-core matters

entered only after de novo review by a United States District Court; (c) a waiver of rights to trial

by jury in any proceeding as to any and all matters so triable; (d) a waiver of rights to have the

reference withdrawn by the United States District Court in any matter or proceeding subject to

mandatory or discretionary withdrawal; (e) a waiver of any rights, claims, actions, defenses,

setoffs, or recoupments all of which the Senior Secured Lenders expressly reserve; or (f) a

consent by the Senior Secured Lenders to the jurisdiction of the United States Bankruptcy Court




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for the Southern District of New York with respect to any proceeding commenced in these cases

against or otherwise involving the Senior Secured Lenders.


Dated: November 5, 2018                     LUSKIN, STERN & EISLER LLP
       New York, New York
                                            /s/ Richard Stern
                                            Richard Stern
                                            Alex Talesnick
                                            Eleven Times Square
                                            New York, New York 10036
                                            Telephone: (212) 597-8200
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                                            Counsel for Senior Secured Lenders




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of November, 2018, I caused a true and correct copy

of the foregoing Notice of Appearance and Request for Service of Papers to be filed and served

through ECF notification upon all parties who receive notice in this matter pursuant to the

Court’s ECF filing system.

                                                      /s/ Alex Talesnick
                                                      Alex Talesnick




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